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   7   Attorneys for Defendant
       EXPERIAN INFORMATION
   8   SOLUTIONS, INC.
   9                        UNITED STATES DISTRICT COURT
  10                      CENTRAL DISTRICT OF CALIFORNIA
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  12   BRYCE ABBINK, individually and on          Case No. 8:19-cv-01257-JFW-PJWx
  13   behalf of all others similarly situated,   Hon. John F. Walter
  14                   Plaintiff,                 NOTICE OF LODGING OF
             v.                                   [PROPOSED] STATEMENT OF
  15                                              DECISION
  16   EXPERIAN INFORMATION
       SOLUTIONS, INC., et al.                    Date:     September 16, 2019
  17                                              Time:     1:30 p.m.
                       Defendants.                Location: 7A
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  19                                              Complaint filed: June 21, 2019
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                                                                              NOTICE OF LODGING
                                                                  Case No. 8:19-cv-01257-JFW-PJWx
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   1         TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF
   2   RECORD:
   3         PLEASE TAKE NOTICE that Defendant Experian Information Solutions,
   4   Inc., hereby lodges the attached [Proposed] Statement of Decision Granting
   5   Defendant Experian Information Solution, Inc.’s Motion to Dismiss Pursuant to
   6   Federal Rule of Civil Procedure 12(b)(6).
   7
   8
                                                   By: /s/ Ryan Ball
   9                                                 Richard J. Grabowski
                                                     Ryan Ball
  10                                                 Jack Williams IV
                                                     JONES DAY
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  12
                                                   Attorney for Defendant
  13                                               Experian Information Solutions, Inc
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                                                                    Case No. 8:19-cv-01257-JFW-PJWx
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